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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

  THE STATE OF TEXAS, et al,                            §
                                                        §
                                                        §
                              Plaintiffs,               §
                                                        §
  v.                                                    §                         Civil Action No.
                                                        §                         4:20-cv-00957-SDJ
                                                        §
  GOOGLE LLC,                                           §
                                                        §
                                                        §
                              Defendant.                §



                            [PROPOSED] ORDER ON PARTIES’
                      JOINT MOTION TO BIFURCATE UNDER RULE 42

          The Parties in the above-captioned action have jointly requested to bifurcate the

 proceedings to address equitable remedies separately from issues of liability and penalties. The

 Parties have also submitted a proposal related to the schedule for bifurcation.

          Rule 42(b) of the Federal Rules of Civil Procedure authorizes: “For convenience, to avoid

 prejudice, or to expedite and economize, the court may order a separate trial of one or more

 separate issues, claims, crossclaims, counterclaims, or third-party claims.” The Court finds that

 bifurcating equitable remedies, if any, will be more convenient for the Court and the Parties, and

 will expedite and economize this litigation.

          It is therefore ORDERED that:

       1. This matter is bifurcated. First, there will be a liability and penalties phase that will address

          only Defendant’s liability and Plaintiffs’ claims for penalties. If there is a liability finding,

          the Court will order separate proceedings regarding equitable remedies.
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     2. During the remainder of expert discovery, deposition questions directed to equitable-

         remedy only opinions will not occur; instead, all examination of witnesses related to the

         fashioning of equitable remedies will be deferred until after liability is determined. Facts

         and opinions that bear on liability and civil penalties (including state-law and DTPA

         penalties), even if they may be related to equitable remedies, are not included in this

         exclusion. Neither party will file any pre-trial summary judgment or Daubert motions

         regarding any issues related to equitable remedies.

     3. Within fourteen days of any liability finding at trial, the Parties will meet and confer to

         establish and file a proposed schedule for discovery on equitable remedies, including fact

         and expert materials, supplemental remedies reports, and any new remedies reports a party

         wishes to tender to address remedies in light of the finding. Fourteen days after that filing

         (or twenty-eight days after any liability finding at trial), the parties will appear before the

         Court for a scheduling conference, subject to the Court’s schedule.

 Nothing in this Order limits, in any way, the parties’ presentation at trial of evidence and arguments

 related to liability and civil penalties (including state-law and DTPA penalties). This Order does

 not decide which issues are triable to a jury in this matter, nor does it alter the Parties’ respective

 abilities to offer evidence relevant to any issue in the liability and penalty proceedings nor alter

 the burden of proof, persuasion, or production to establish each and every element of liability,

 justifications, or defenses.




         Signed this ______, day of ________________, 2024.


                                                ________________________________
                                                      Judge Sean D. Jordan
